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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                Case No. 2:20-cr-00052-DCN
               Plaintiff,
                                                ORDER OF CRIMINAL
        vs.                                     FORFEITURE MONEY JUDGMENT

 TRINA MARIE WELCH,

               Defendant.


       This matter comes before the Court on the United States’ Motion for Criminal

Forfeiture Money Judgment against the Defendant. Dkt. 83.

       The Court finds that the Motion and the record establish: (a) the requisite nexus

between the property subject to forfeiture and the offense, as required by Federal Rule of

Criminal Procedure 32.2, and (b) establish a sufficient factual and legal basis for forfeiture

to include, but not be limited to, the following Subject Property and any Substitute Assets.

       Subject Property:

       Unrecovered Cash Proceeds / Money Judgment Amount: At least $3,674,338.86 in

that such sum represents unrecovered proceeds of the offense of conviction obtained by the

defendant, or property, derived from or traceable to such proceeds, but based upon actions

of the defendant, the property was transferred, diminished, comingled, or is otherwise



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unavailable.

       Nexus and Factual Basis for Forfeiture

       This Court held an evidentiary hearing on August 2, 2022, during which the United

States introduced 341 checks and various financial summaries, and the Court determined

that the fraud loss attributable to Defendant Welch’s crime was $3,674,338.86. (Transcript,

Dkt. 75.) The Court recognized that the Defendant did not present evidence on loss and

that she retained the right to do that. (Id. at 67.) Welch, in her Plea Agreement, admitted

to an embezzlement scheme from 2013 through July of 2019, that she “wrote, or caused to

be written, at least 341 fraudulent checks from Kasco's bank accounts,” and she

acknowledged that the Government calculated the total loss at $3,674,338.86. (Plea

Agreement, Dkt. 45 at 3-4.)

       Statutory Authority

       The Court’s forfeiture authority originates from 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c) which provides that, when imposing sentence on any person convicted of

a violation of 18 U.S.C. § 1343, the Court shall order that the person forfeit to the United

States any property, real or personal, which constitutes or is derived from gross proceeds

traceable to the commission of the offense.

       Substitute Assets: Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the

government is authorized to seek forfeiture of substitute assets, “or any other property of

the defendant” up to the value of the defendant’s assets subject to forfeiture.

       NOW THEREFORE, THE COURT ORDERS that the United States’ Motion for

Order of Forfeiture Money Judgment (Dkt. 83) is GRANTED, and the defendant shall


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forfeit to the United States the Subject Property and any other property forfeitable pursuant

to the Statutory Authority above or other applicable law. This Order shall constitute a

personal money judgment against the defendant for the amount of the Subject Property,

which is $3,674,338.86. See Fed. R. Crim. P. 32.2(b)(1)(a) (discussing personal money

judgment) and 2000 Committee Notes (explaining a money judgment is an in personam

judgment against the defendant). The United States may take any and all actions available

to it to collect and enforce the forfeiture.

        Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Order will be final as to the defendant

at the time of sentencing and shall be made part of the sentence and incorporated in the

judgment of conviction.

        The Court authorizes the United States, pursuant to Criminal Rule 32.2(b)(3) and

21 U.S.C. § 853(m), to conduct any discovery, including interrogatories and depositions,

intended: (1) to identify, locate or dispose of any property that potentially may be forfeited

as substitute assets; and (2) to evaluate any third party interests in such property.

        Pursuant to Rule 32.2(c)(1) of the Federal Criminal Rules of Procedure, which states

that “no ancillary proceeding is required to the extent that the forfeiture consists of a money

judgment,” the United States is not required to publish notice of this forfeiture money

judgment.1




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  Where the Court imposes only a money judgment and not the forfeiture of specific property, the standard
Preliminary Order / ancillary proceeding / Final Order process is unnecessary for the money judgment.
Compare Fed.R.Crim.P. 32.2(b)(1)(A) (discussing “personal money judgment”) with 32.2(b)(2)(A)
(referencing “property” subject to forfeiture). See also Rule 32.2(c)(1) (clarifying that no ancillary
proceeding is required for a forfeiture money judgment).


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      This Court shall retain jurisdiction to enforce this Order, and to amend it at any time,

pursuant to Criminal Rule 32.2(e).

                                                 DATED: September 20, 2022


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




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